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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


  ANNEX BOOKS, INC.,                             )
  NEW FLICKS, INC. d/b/a New Flicks,             )
  LAFAYETTE VIDEO & NEWS, INC.                   )
  d/b/a Lafayette Video & News,                  )
  KEYSTONE VIDEO & NEWSSTAND,                    )
  INC d/b/a Keystone Video,                      )
  SOUTHERN NIGHTS, INC.,                         )
                                                 )      No. 1:03-cv-00918-SEB-TAB
                               Plaintiffs,       )
                                                 )
                      vs.                        )
                                                 )
  CITY OF INDIANAPOLIS,                          )
                                                 )
                               Defendant.        )


    ORDER UPHOLDING CONSTITUTIONALITY OF CHAPTER 807 OF THE
      REVISED CODE OF THE CONSOLIDATED CITY AND COUNTY OF
                          INDIANAPOLIS

       This matter was tried to the Court on October 17-19, 2012, presenting the

 constitutional issues arising under the First and Fourteenth Amendments relating to

 Chapter 807 of the Revised Code of the Consolidated City and County of Indianapolis

 (“City-County Code”), which ordinance governs the licensing and regulation of adult

 entertainment establishments. Plaintiffs, Annex Books, Inc., New Flicks, Inc. d/b/a New

 Flicks, Lafayette Video & News, Inc., d/b/a Lafayette Video & News, Keystone Video &




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 Newsstand, Inc., d/b/a Keystone Video, and Southern Nights, Inc., are adult bookstores

 within the meaning of Ordinance 87,2003 (“the Ordinance”).1


         This is not our first encounter with these issues. Indeed, this litigation has a long

 history before our court as well as the Court of Appeals. When this cause of action was

 originally filed, Plaintiffs sought declaratory and injunctive relief prohibiting the

 enforcement of Chapter 807, as amended, which they contended violated their rights

 under the First and Fourteenth Amendments. On November 3, 2003, after a hearing, the

 Court preliminarily enjoined enforcement of the Ordinance pending “further order of the

 Court or a final resolution of the merits of the case.” Docket No. 51, at 9. Defendant, the

 City of Indianapolis (“the City”), subsequently agreed to refrain from enforcing the

 Ordinance until a final decision on the merits was rendered. On April 1, 2005, the Court

 entered final judgment in favor of the City holding that enforcement of Chapter 807 did

 not violate Plaintiffs’ constitutional rights.


         Plaintiffs appealed that ruling and, on September 3, 2009, the Seventh Circuit

 affirmed the Court’s judgment regarding the licensing procedure set out in the Ordinance,

 but reversed and remanded the case for an evidentiary hearing on the First Amendment

 issues. The mandate from the Seventh Circuit was issued on November 3, 2009. On

 remand, Plaintiffs requested and were granted leave to file a second amended complaint

 to include a claim for damages. On November 6, 2009, Plaintiffs also filed a motion for


 1
  During the period of time when the Ordinance was not being enforced, Plaintiff New Flicks ceased its
 business operations and has not reopened. Thus, the parties have agreed that any injunctive relief is moot
 as to New Flicks.

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 preliminary injunction requesting that the Court enjoin the City from enforcing Chapter

 807 until a final decision could be reached on the merits. On December 2, 2009, after a

 hearing during which both sides presented evidence and argument, the Court granted

 Plaintiffs’ request for injunctive relief, enjoining the City from enforcing Chapter 807

 until further order of the Court. That decision was affirmed by the Seventh Circuit on

 October 1, 2010.


        The trial having now been completed, during which the Court received and

 considered documentary and testimonial evidence as well as heard the parties’ oral

 arguments, we now hold that the Ordinance is valid under the First Amendment and may

 be enforced according to its terms.


        Ordinance 87,2003 was approved by the City-County Council on October 6, 2003,

 and signed into law on October 14, 2003. Chapter 807 of the City-County Code regulates

 adult entertainment establishments, and, under the definitions set out in § 807-103, each

 of the plaintiffs qualifies as an “adult bookstore.” Specifically, the Ordinance defines an

 adult bookstore as “an establishment having at least twenty-five percent (25%) of its (1)

 retail floor space used for the display of adult products; or (2) stock in trade consisting of

 adult products; or (3) weekly revenue derived from adult products.”


        Among other things, the Ordinance requires that Plaintiffs be licensed and that

 they close their store operations between midnight and 10 a.m. six days a week and

 remain closed all day on Sundays. The Ordinance also requires businesses with video

 booths to comply with section 807-301(h), which includes booth configuration, employee

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 monitoring, and minimum lighting requirements.2 Each of the Plaintiffs offers adult

 oriented videos for sale, rental or display, as well as magazines and other materials.

 Annex Books is the only plaintiff that offers coin operated machines allowing its patrons

 to view sexually oriented videos in booths on the store’s premises. The Ordinance was in

 effect between June 1, 2005 and December 2, 2009, prior to our issuance of the

 preliminary injunction.


         Because the Ordinance is directed toward regulating secondary effects, it need

 survive only intermediate scrutiny. See City of Los Angeles v. Alameda Books, Inc., 535

 U.S. 425, 448 (2002) (Kennedy, J. concurring). A law satisfies the intermediate scrutiny

 test so long as it is “designed to serve a substantial governmental interest and [does] not

 unreasonably limit alternative avenues of communication.” City of Renton v. Playtime

 Theatres, Inc., 475 U.S. 41, 47 (1986); see also Alameda Books, 535 U.S. at 434. “Laws

 are designed to serve a substantial government interest when the ‘municipality can

 demonstrate a connection between the speech regulated by the ordinance and the

 secondary effects that motivated the adoption of the ordinance.’” Andy’s Restaurant &

 Lounge, Inc. v. City of Gary, 466 F.3d 550, 555 (7th Cir. 2006) (quoting R.V.S., L.L.C. v.

 City of Rockford, 361 F.3d 402, 408 (7th Cir. 2004)). To assess the sufficiency of this

 connection, courts must “examine evidence concerning regulated speech and secondary

 effects.” Alameda Books, 535 U.S. at 441 (citing Renton, 475 U.S. at 50-52). “The First

 Amendment does not require a city, before enacting such an ordinance, to conduct new

 2
   Plaintiffs are not challenging the provisions addressing booth configuration, employee monitoring, and
 lighting requirements.

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 studies or produce evidence independent of that already generated by other cities, so long

 as whatever evidence the city relies upon is reasonably believed to be relevant to the

 problem that the city addresses.” Renton, 475 U.S. at 51-52.


        In its decision remanding the case for an evidentiary hearing on the substantive

 First Amendment issues, the Seventh Circuit held that in order for the revised Ordinance

 to pass constitutional muster, the City must present evidence that adult book or video

 stores without live entertainment or private booths, open after midnight, or on Sunday,

 cause adverse secondary effects sufficiently severe to justify the curtailment of speech

 which results from the City’s post-2003 system of regulation. See Annex Books, Inc. v.

 City of Indianapolis, Ind., 581 F.3d 460, 465-67 (7th Cir. 2009) (“Annex Books I”).

 Thus, the City must establish: first, that adult entertainment businesses lacking facilities

 for on-premise viewing create the same secondary effects as establishments providing

 those services, and second, that the revised Ordinance requiring Plaintiffs to close from

 midnight to 10:00 a.m. Monday through Saturday and all day on Sunday “has the purpose

 and effect of suppressing secondary effects, while leaving the quantity and accessibility

 of speech substantially intact.” Id. at 465 (quoting Alameda Books, Inc., 535 U.S. at 449

 (Kennedy, J., concurring)).


        In determining whether the City has met its burden as elucidated by the Seventh

 Circuit in Annex Books I, we again rely heavily on the parties’ respective analyses of the




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 crime statistics in Indianapolis before and after enforcement of the revised Ordinance.3

 We relied on a portion of these same statistics in our December 2, 2009 Order granting

 Plaintiffs’ request for a preliminary injunction. However, we made clear in that ruling

 that the evidence and argument presented by the parties was only preliminary and that the

 statistical evidence would need further development at the full evidentiary hearing.

 Having now had the opportunity to review and evaluate the fully developed evidence,

 including the proffered statistical analyses, we hold for the reasons detailed below that

 the City has succeeded in making the necessary showing detailed in Annex Books I to

 satisfy the Constitutional requirements.


         First, consistent with the first prong of the test elucidated in Annex Books I, we

 find that the City has presented sufficient evidence to establish a reasonable basis for its

 legislative finding that adult businesses without on-premises viewing cause secondary

 effects similar to those caused by adult businesses offering such activities. As noted

 above, in reaching this conclusion, we rely heavily on the comparative crime statistics in

 Indianapolis before and after the Ordinance went into effect. Both parties’ experts

 testified regarding the advantages associated with the use of before and after studies in

 which crime data in the vicinity of a sexually oriented business is collected for a time

 3
   Much of the other evidence in the record before us, including a number of studies on which the City
 relied to justify the adoption of revised Chapter 807 and which it continues to cite in this litigation in
 support of the revised ordinance, was criticized by the Seventh Circuit in Annex Books I. Judge
 Easterbrook, writing for the panel, highlighted various deficiencies in those studies. He noted, for
 example, that none of the studies specifically dealt with the type of ordinance at issue here, to wit, an
 hours of operation restriction, nor did any of the studies assess the effects of stores that sell as little as
 25% adult products, such as the businesses covered under the City’s revised ordinance. Moreover, many
 of the studies concerned adult businesses that offer on-premise viewing booths, live shows, or both, while
 only one of the Plaintiffs in this lawsuit, to wit, Annex Books, offers such entertainment. Accordingly,
 the weight we accord these studies is greatly diminished in the Court’s current analysis.

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 period before and after some change in its operation as a method of assessing secondary

 effects. In such a study, the sexually oriented business serves as its own control,

 eliminating many of the challenges associated with finding an area sufficiently similar to

 the area surrounding the sexually oriented business on characteristics known to be

 associated with crime to act as a control.


         Here, the City studied Uniform Crime Reporting Part I crimes (“UCR Part I

 crimes”)4 that occurred within 500 feet of Plaintiffs’ businesses during the pre-

 enforcement and enforcement periods.5 This data, collected in a 2009 study (“the 2009

 data”),6 is the same data analyzed in our December 2, 2009 Order granting Plaintiffs’

 request for a preliminary injunction. In that Order, while noting the early juncture at

 which we were making our decision, we held that the City had failed to meet its burden

 as explicated in Annex Books I because, although there was statistical evidence from that

 2009 study showing that violent/person crime (as opposed to property crime) had

 decreased while the Ordinance was in effect, the actual numbers were too small to be

 considered statistically significant so as to justify the reduction in speech effected by the


 4
   The FBI has administered the Uniform Crime Reporting Program since 1930. There are eight crimes
 classified as Part I crimes within the UCR system, including the violent/person crimes of murder and
 nonnegligent manslaughter, forcible rape, robbery, and aggravated assault, and the property crimes of
 burglary, larceny-theft, and motor vehicle theft. Arson was subsequently added as the eighth Part I
 offense category.
 5
   The pre-enforcement period ran from April 2002 through May 2005 (38 months) and the enforcement
 period was June 2005 through March 2008 (34 months). At the evidentiary hearing, Dr. Lintz opined that
 the four month difference between the two time periods would likely affect no more than a few crimes
 and the record supports this opinion. See Exh. P at 2, 12 (showing that only two crimes occurred at
 Plaintiffs’ addresses between April and July 2008, neither of which occurred during the hours regulated
 by the Ordinance). Accordingly, this discrepancy is not material to our analysis.
 6
   Plaintiff Southern Nights was included in all of the parties’ original filings and remains listed on the
 Court’s docket as a plaintiff in this litigation. However, it is not included in the 2009 data.

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 Ordinance. However, having now had the benefit of further development and

 explanation of the data by the parties’ experts at the evidentiary hearing, we understand

 the data more fully. The expert testimony proffered at the hearing highlighted the

 importance of shifting our focus from simply the raw numbers of crimes to include an

 analysis of the underlying nature of those crimes as a way of putting the numbers in

 context.


        At the evidentiary hearing, the City provided substantially more detail underlying

 the 2009 data. Specifically, the City reviewed the police reports to identify the type of

 Part I crime reflected in the 2009 data as well as the specific address(es) at which each

 crime occurred. On this basis, the City ranked the addresses within each 500 foot circle

 surrounding Plaintiffs’ bookstores7 according to the number of crimes that occurred at

 each of the addresses within that area. The evidence shows that, in the pre-enforcement

 period, a total of 107 violent/person crimes occurred at all addresses within the 500-foot

 circles surrounding Plaintiffs’ locations, 21 of which occurred at the five adult bookstore

 addresses (the four plaintiffs and another adult bookstore, Video Gallery). Thus,

 approximately 20% of all violent/person crimes during the pre-enforcement period

 occurred at the adult bookstore addresses, even though the five adult bookstores represent

 only 3% of the 152 total addresses within the 500 foot circles that had at least one UCR

 Part I crime during the period. Of those 21 violent/person crimes, 18 were armed

 robberies, and those 18 armed robberies at the adult bookstore addresses account for 46%
 7
   According to Dr. McCleary’s testimony, the 500 foot circumference (which is tantamount to an average
 city block) is a commonly used distance in secondary effects studies for both practical and empirical
 reasons.

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 of the total number (39) of armed robberies that occurred during the pre-enforcement

 period in all of the 500-foot circles. See Exh. M-4; Exh. M-5; and Exh. M-6.


        Both parties’ experts have endorsed and employed the use of this hotspot analysis,

 to wit, the ranking of addresses in a particular area based on crimes occurring at them.

 They agree that this is a recognized method of assessing secondary effects. Here, during

 the pre-enforcement period, Lafayette Video & News was ranked first in its buffer area

 for both total UCR crimes as well as armed robberies. In its area, New Flicks Video was

 third for total UCR crimes and first in armed robberies. Keystone Video & Newsstand

 was second in its circle behind the CVS Pharmacy in both total UCR crimes and armed

 robberies. Plaintiff Annex Books and another adult store, Video Galley, are located

 within the same 500-foot circle, and within that area, Annex Books and Video Gallery

 were third and fifth, respectively, in total UCR crimes and ranked first and second in

 armed robberies. See Exh. M-6. These rankings are consistent with Dr. McCleary’s

 conclusion that adult bookstores are hotspots for serious crime, including armed

 robberies. See Exh. V at 2 (McClearly 2004 expert report: “The adverse secondary

 effects of [sexually oriented businesses] ordinarily involve robbery, ….”).


        The evidence also established that, during the period of time when the Ordinance

 was being enforced, overall violent/person crime, including the number of armed

 robberies, decreased at the adult bookstores, with the greatest decreases in total UCR Part

 I crimes (over 50%) coming during the regulated hours. See Exh. M-4; Exh. M-5; Exh.

 M-6. Specifically, total UCR Part I crimes at Plaintiffs’ and Video Gallery’s addresses

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 decreased during the overnight hours (midnight to 10 a.m.) from 12 crimes pre-

 enforcement to 5 crimes during the enforcement period and, on Sundays, from 8 crimes

 pre-enforcement to 3 crimes after. Exh. M-4. Total armed robberies committed at the

 adult bookstores during the regulated hours (overnight hours and Sundays combined)

 decreased from 8 during the period before the Ordinance was enforced to 0 during

 enforcement. See Exh. M-5. During the period of enforcement, violent/person crime as a

 whole decreased approximately 44% during the overnight hours within the 500 foot

 circles surrounding the bookstores, while violent/person crime in the balance of the IPD

 District rose almost 12% during that same time period. See Exh. 7A.


        To support their claims, Plaintiffs focus on the fact that, within the 500-feet circles

 surrounding Plaintiffs’ premises, property crime and total UCR Part I crime rates as well

 as violent/person crime on Sundays all increased during the enforcement period.

 Specifically, property crime increased by: 16% overall; 32% during the overnight hours;

 and 20% on Sundays. Exh. 7. Overall UCR Part I crimes also increased in those areas

 by: 9% overall; 12% during the overnight hours; and 37% on Sundays. Id. Finally,

 Plaintiffs highlight that, although the violent/person crime rate decreased significantly in

 the 500-foot circles both overall as well as specifically during the overnight hours as

 described above, it increased from 8 to 19 crimes (138%) on Sundays during the

 enforcement period in the 500-foot circles surrounding Plaintiffs’ locations. Id. Based

 on the overall testimony and evidence presented at trial, however, we are not persuaded

 that this excerpted data support a reliable conclusion.


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         The trial testimony establishes that focusing on violent/person crime both in the

 500-foot circles surrounding Plaintiffs’ bookstores, and even more narrowly, on

 violent/person crime occurring at the Plaintiffs’ specific addresses, as opposed to total

 crime or property crime in this context is, for a number of reasons, more reasonable.

 First, one of the main challenges related to the assessment of secondary effects identified

 by the experts is the difficulty associated with accurately determining the time and exact

 location at which individual crimes occur in order to collect reliable data. Many property

 crimes, for example, cannot be reported in detail because the details are unknown (e.g.

 often property crimes like break-ins occur when the victim is away from his or her home

 or vehicle so the victim is unable to pinpoint with precision when the crime occurred). In

 contrast, because violent/person crimes involve a witness, usually the victim, the details

 of such crimes are generally more accurately reported, including the specific act that

 occurred as well as the time and location of the crime. Moreover, the City’s expert, Dr.

 Richard McCleary, testified that relying on property crime rates in assessing secondary

 effects can be problematic because the property crime category is overwhelmed with

 larceny, and yet there are very few larcenies involved in secondary effects. 8 Dr.

 McCleary also testified that property crimes occur much more frequently than

 violent/person crime; thus, fluctuations in property crime can have a disproportionate

 effect on the total crime rate as well.




 8
  Consistent with Dr. McCleary’s opinion, the evidence shows that a significant percentage of the
 property crimes reflected in the 2009 data consist of shoplifting and larcenies occurring at Menards. See
 Exh. M-6.

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        Plaintiffs’ expert, Dr. Daniel Lintz, among other witnesses, testified that there can

 be inaccuracies in coding crimes to particular locations when, as is true here, the 500-foot

 area around a sexually oriented business includes a large retail establishment or a strip

 mall or shopping center. Some large businesses have multiple addresses, which can lead

 to police reporting errors. Retail establishments located within strip malls and shopping

 centers may also affect the reliability of the data because it is common for the strip mall

 or shopping center to have a single address while the individual establishments and stores

 have suite numbers. If a police officer does not know the respective suite number of a

 particular establishment or store, the officer may assign a crime incident to an address

 belonging to the entire shopping center rather than the particular store at which the crime

 actually occurred, which clearly might skew the data. Dr. Lintz further testified that large

 parking lots that adjoin such businesses might also affect data, especially property crime

 numbers because property crimes happen with increased frequency at such locations.

 Another reliability issue noted by the experts arises when, as the experts testified here, a

 significant number of crimes are coded to intersections rather than specific addresses

 because in those cases, the exact location of the crime is not always discernible. The data

 collecting difficulties referenced here, while carefully considered by us, have not

 undermined our overall conclusion, however.


        We found the testimony of both parties’ experts who opined that one way to

 minimize such potential reliability issues is to review the underlying police reports, rather

 than relying merely on the machine-readable data, helpful and enlightening. In his


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 testimony, Dr. Lintz agreed that such an approach yields a more accurate assessment of

 the actual relationship between the adult bookstores and the offenses that occurred within

 the 500 foot circles.9 In both his expert report and in his testimony, Dr. McCleary

 explained that he had identified numerous reliability issues associated with much of the

 machine-readable data he had received from Indianapolis, making it difficult to render

 opinions based on that data. However, he testified that manually reading a small sample

 of the police reports underlying the machine-readable data is a feasible way to collect

 reliable information. Both Lynn Phelps, the City’s UCR coding specialist, and Jean

 Ritsema, the City’s crime data facilitator, also testified regarding various difficulties

 inherent in crime-data collection and emphasized the importance of reading the

 underlying police reports in order to obtain reliable information about crime in

 Indianapolis.


            As noted previously, the City used this method endorsed by the experts, namely,

 conducting a review of the underlying police reports, in order to create the detailed

 exhibits it submitted during the evidentiary hearing, which distinguished between the

 crimes committed at the bookstore addresses and the other addresses within the 500-foot

 circles and ranked those addresses within the 500-foot circles by number of crimes. The

 data contained in the supplemental exhibits presented by the City comprises the only

 evidence reflecting the underlying police reports. This more detailed and nuanced data

 shows that, during the period of time when the Ordinance was being enforced, the


 9
     Dr. Lintz himself used this method in his studies in Seattle, Richmond, and Rancho Cordova, California.

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 greatest decreases in total UCR Part I crimes (over 50%) occurred during the regulated

 hours, and overall violent/person crime, including the number of armed robberies, also

 decreased at the adult bookstores during the enforcement period. Moreover, although it

 is true as Plaintiffs point out that violent/person crime on Sundays increased significantly

 during the enforcement period in the 500-foot circles surrounding the adult bookstores,

 when the focus is turned specifically on the adult bookstore addresses, the data reveals

 that total UCR Part I crime decreased by over 50% (from 8 incidents pre-enforcement to

 3 after) on Sundays at the adult bookstores themselves, and violent/person crime

 incidents at the adult bookstores on Sundays decreased from 3 incidents to 0. See Exh.

 M-4; Exh. M-5.


         As a final matter, the evidence establishes that violent/person crimes occur less

 frequently and are generally more serious than property crimes. For example, though

 armed robbery is a very rare crime relative to other offenses, it is extremely dangerous,

 sometimes even resulting in homicide.10 Thus, while these raw numbers as such appear

 small, the City nevertheless has a clear and significant interest in reducing incidences of

 serious crimes such as armed robbery. The testimony established that, merely because

 the numbers are small, they are not necessarily insignificant. For example, Dr. McCleary

 testified that statistically speaking a randomly chosen hypothetical person in Indianapolis

 would have to wait 245 years before being a victim of an armed robbery. He further

 testified that, if an address or intersection in Indianapolis were chosen at random, one

 10
   In 1997, before the adoption of the ordinance, an individual was shot and killed during the commission
 of an armed robbery at Plaintiff Lafayette Video & News.

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 would have to wait approximately 99.1 years before an armed robbery occurred there.

 However, during the approximately six year period on which the summary of 2009 data

 is based, 26 armed robberies at the five adult bookstores (four Plaintiffs and Video

 Gallery) occurred. Thus, because armed robberies on the whole occur so infrequently, it

 is clear that the numbers attributable to the adult bookstores are in fact quite significant.

 This conclusion is consistent with Dr. McCleary’s view that these locations, even those

 without live entertainment are hotspots for armed robbery.11


         Our conclusion is further buttressed by an examination of evidence relating to

 areas outside of Indianapolis. As Judge Easterbrook noted in Annex Books I, the City is

 not required to use “local” evidence to show that adult businesses without on-premise

 viewing cause similar secondary effects as businesses that do offer such services.

 Apparently relying on that guidance, the City introduced an article co-authored by its

 expert, Dr. McCleary, which, based on his research, including his study conducted in

 Sioux City, Iowa, establishes a link between adult bookstores without live entertainment

 or private viewing and secondary effects crimes. Richard McCleary & Alan C.

 Weinstein, Do AOff-Site@ Adult Businesses Have Secondary Effects? Legal Doctrine,

 Social Theory, and Empirical Evidence, 31 Law & Policy 217-35 (2009) (AMcCleary

 Article@). In the McCleary Article, the authors theorize that: ATo the extent that on-site


 11
    Although Plaintiffs’ expert, Dr. Daniel Lintz, testified that he would not consider Plaintiffs’ businesses
 to be hotspots for crime because the raw numbers reflected in the 2009 data were de minimis, he did
 concede that, in determining whether a particular address was a hotspot, the type of crimes underlying the
 numbers would be information that would factor into his decision. He went on to testify that, even if a
 particular address would not be a hotspot for crime in general because the crime numbers were too small,
 it would still be possible for that location to be a hotspot for a particular type of crime.

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 and off-site adult bookstores attract high-value targets from wide catchment areas, both

 business types are expected to attract predators to their neighborhoods, thereby

 generating ambient victimization risk.@ Id. at 223. In support of that conclusion, the

 authors cited to a Sioux City case study, which showed that crime rose 190% in the area

 within 500 feet of a new off-site viewing adult bookstore, while crime in a comparable

 control area rose only 25% during the same period. Id. at 223-25. The study also

 revealed that the most significant increase in crime occurred during the store=s Aovernight

 shift@ from 8:00 p.m. to 3:59 a.m. Id. at 227-28.


        The data in the McCleary Article also address some of the concerns expressed by

 Judge Easterbrook regarding the evidence initially relied upon by the City in enacting the

 Ordinance. Unlike those studies, the Sioux City study focused on an adult bookstore

 without live entertainment and, although the statute at issue there was not an hours of

 operation ordinance, the study did include a breakdown of crime statistics for daytime

 versus overnight hours. At the evidentiary hearing, Dr. McCleary testified that not only

 did crime increase after the adult bookstore opened in Sioux City, but the character of the

 crimes observed changed as well, such that, before the store opened, there were no

 incidences of crimes where life was at risk, but, after it opened, more serious crimes

 began to occur. Although this evidence is not by itself determinative of our decision

 here, the data from Indianapolis coupled with the Sioux City case study are highly

 persuasive as well as probative in establishing that adult bookstores without live




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 entertainment cause similar secondary effects as adult businesses that do provide live

 viewing booths.12


         Having concluded that the City has shown a reasonable basis for its finding that

 adult bookstores without live entertainment create similar secondary effects as those with

 such offerings, and that when the Ordinance was in effect those secondary effects were

 reduced to some degree, we now turn to the issue of whether the reduction in crime

 attributable to the Ordinance is sufficient to justify the corresponding reduction in speech.

 This is neither an easy nor a straightforward determination. As Judge Easterbrook

 recognized in Annex Books I: “[B]ecause crime and speech cannot be reduced to a

 common metric, a direct comparison (how much speech should be sacrificed to achieve

 how much reduction in crime?) is difficult if not impossible.” 581 F.3d at 465-66.

 However, in an effort to make such a calculation in a way that embraces a rigorous

 analysis of the evidence presented by the parties, while affording the City “the benefit of

 the doubt,” (id. at 466), we hold that the City has shown that the public benefits flowing

 from the Ordinance are sufficient to justify the regulation without an unjustified,

 substantial decrease in freedom of speech.




 12
   In our December 2, 2009 Order granting Plaintiffs’ request for a preliminary injunction, we noted that
 Dr. McCleary’s Sioux City study had been heavily criticized in Dr. John’s Inc. v. City of Sioux City, 438
 F. Supp. 2d 1005 (N.D. Iowa 2006), where Dr. McCleary’s data was originally submitted in support of
 Sioux City’s regulation of an adult bookstore. However, in response to the court’s criticisms, Dr.
 McCleary supplemented the data, using larger data sets and evaluating crimes within 500 feet of the adult
 bookstore instead of fifty feet to address the concerns raised by the court in Dr. John’s. Because the
 conclusions contained in the McCleary Article are now buttressed by the expanded data, the prior
 criticisms of the study carry less weight in our analysis.

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        Plaintiffs attempted to correlate a decline in sales with a decline in speech, but the

 evidence showed that sales at the stores were declining before enforcement of the

 Ordinance, and, in fact the pre-enforcement declines in sales were in a number of cases

 greater than the declines in sales during the enforcement period. Moreover, as the

 Supreme Court recognized in Young v. American Mini Theatres, Inc., 427 U.S. 50 (1976),

 although it is often commercial distributors of speech who are in a position to assert the

 kind of claims asserted here, the First Amendment’s concern is not a seller’s access to

 profits, but rather “the central First Amendment concern remains the need to maintain

 free access of the public to the expression.” Id. at 77.


        Here, no evidence was introduced showing that any book, film, video or magazine

 was taken off of the shelves or made unavailable to a patron as a result of the Ordinance.

 Nor was there evidence that any patron was unable to access speech during the

 enforcement period because he or she could visit the stores only on Sundays or between

 the hours of midnight and 10:00 a.m. Additionally we note, and the parties have

 stipulated, that, although adult bookstores are currently free to operate twenty-four hours

 a day, seven days a week, none of Plaintiffs’ stores actually do so. According to the

 parties’ stipulation, Keystone and Annex Books are open 9:00 a.m. to 3:00 a.m., seven

 days a week. Lafayette is open 10:00 a.m. to midnight, Monday through Thursday as

 well as on Sunday. On Friday and Saturday nights, Lafayette’s hours are 10:00 a.m. to

 3:00 a.m. New Flicks went out of business during the time period when the Ordinance

 was not being enforced and it has not reopened.


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        Given these facts, there is no persuasive support for a conclusion that the

 opportunity to purvey expressive materials of the nature sold at Plaintiffs’ businesses is

 curtailed to a significant degree by the Ordinance. We are persuaded that the remaining

 hours of opportunity for an unfettered dissemination of speech under the Ordinance are

 sufficient to satisfy the First Amendment and that the Ordinance is not “substantially

 broader than necessary” to further the City’s legitimate interest in reducing the secondary

 effects described above. Ward v. Rock Against Racism, 491 U.S. 781, 800 (1989). In

 fact, we note, similar hours restrictions have previously been upheld by the Seventh

 Circuit against First Amendment challenges in other analogous cases. See Andy’s

 Restaurant, 466 F.3d at 555-56 (upholding ordinance which, among other regulations,

 limited operating hours of sexually oriented businesses to 10:00 a.m. to 11:00 p.m., seven

 days a week); Schultz v. City of Cumberland, 228 F.3d 831, 846 (7th Cir. 2000)

 (upholding a provision of an ordinance “limiting the business hours for sexually oriented

 businesses to be between 10 a.m. and midnight, Monday through Saturday”).


        For these reasons, we hold that the City has presented sufficient evidence to

 establish that the Ordinance satisfies the intermediate scrutiny test set out in Alameda

 Books and its progeny. Accordingly, we declare that the Ordinance 87,2003 is valid

 under the First Amendment and is thus enforceable by the City. Final judgment shall

 issue accordingly.


        IT IS SO ORDERED.
                                                           _______________________________
                                                            SARAH EVANS BARKER, JUDGE
            02/25/2013
 Date: _________________________                            United States District Court
                                                            Southern District of Indiana

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